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                                                                                  2019 Mar-11 AM 10:25
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA



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8

9                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ALABAMA
10
                                SOUTHERN DIVISION
11

12

13
     DANIELLE SAVOYE,                           Case No.:

14
                 Plaintiff,
                                                COMPLAINT AND DEMAND FOR
15
          v.                                    JURY TRIAL

16
     USAA FEDERAL SAVINGS BANK,
17
                                                (Unlawful Debt Collection Practices)
                 Defendant.
18

19

20
                                COMPLAINT FOR DAMAGES
21
          Plaintiff, Danielle Savoye (“Plaintiff”), through her attorneys, alleges the
22

23
     following against USAA Federal Savings Bank, (“Defendant”):

24                                    INTRODUCTION
25




                              COMPLAINT AND DEMAND FOR JURY TRIAL
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     1. Count I of Plaintiff’s Complaint is based upon the Telephone Consumer
1

2         Protection Act (“TCPA”), 47 U.S.C. § 227. The TCPA is a federal statute
3
          that broadly regulates the use of automated telephone equipment. Among
4
          other things, the TCPA prohibits certain unsolicited marketing calls, restricts
5

6
          the use of automatic dialers or prerecorded messages, and delegates

7         rulemaking authority to the Federal Communications Commission (“FCC”).
8
     2. Count II of Plaintiff’s Complaint is based upon the Invasion of Privacy -
9
          Intrusion upon Seclusion, as derived from § 652B of the Restatement
10

11        (Second) of Torts. § 652B prohibits an intentional intrusion, “physically or

12        otherwise, upon the solitude or seclusion of another or his private affairs or
13
          concerns… that would be highly offensive to a reasonable person.”
14
                            JURISDICTION AND VENUE
15

16   3.   Subject matter jurisdiction of the Court arises under 47 U.S.C. § 227 et seq.
17        and 28 U.S.C. 1331.
18
     4.   Diversity jurisdiction is proper under 28 U.S.C. 1332.
19

20
     5.   Venue is proper pursuant to 28 U.S.C. 1391(b)(1) in that a substantial part

21        of the events or omissions giving rise to the claim occurred in this District.
22
     6.   Defendants transact business here; personal jurisdiction is established.
23
                                        PARTIES
24

25




                         COMPLAINT AND DEMAND FOR JURY TRIAL
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     7. Plaintiff is a natural person residing in the County of Madison, State of
1

2       Alabama.
3
     8. Defendant is a creditor engaged in the business of loan servicing with its
4
        principal place of business located at 10750 McDermott Freeway, San
5

6
        Antonio, TX 78288-9876.

7    9. Defendants acted through their agents, employees, officers, members,

8
        directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
9
        representatives, and insurers.
10

11                          FACTUAL ALLEGATIONS

12   10. Defendants are attempting to collect a debt from Plaintiff.
13
     11. In or around July 2018, Defendant began placing calls to Plaintiff on her
14
         cellular phone number ending in 0682, in an attempt to collect an alleged
15

16       debt.
17   12. The calls placed by Defendant mainly originated from phone numbers: (800)
18
         531-0378, (800) 531-8722, and (800) 531-7013.
19
     13. On or about July 2, 2018, at 10:04 a.m., Plaintiff answered a collection call
20

21      from Defendant from telephone number (800) 531-0378; Plaintiff heard a
22
        pause before the collection agent began to speak, indicating the use of an
23
        automated telephone dialing system;
24

25




                       COMPLAINT AND DEMAND FOR JURY TRIAL
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     14. Defendant informed Plaintiff that it was attempting to collect a debt relating
1

2       to her USAA account.
3
     15. Plaintiff unequivocally revoked consent to be called any further. Despite
4
        Plaintiff’s request not to be contacted, Defendant continued to call Plaintiff.
5

6
     16. On or about July 13, 2018, at 7:23 p.m., Plaintiff answered a collection call

7       from Defendant; Plaintiff heard a pause before the collection agent began to
8
        speak, indicating the use of an automated telephone dialing system;
9
     17. Defendant informed Plaintiff that it was attempting to collect a debt relating
10

11      to her USAA account.

12   18. Plaintiff unequivocally revoked consent to be called any further for a second
13
        time. Despite Plaintiff’s request not to be contacted, Defendant continued to
14
        call Plaintiff.
15

16   19. Between July 10, 2018 and October 20, 2018, Defendant called Plaintiff no

17      less than one-hundred and ninety-three (193) times after Plaintiff revoked
18
        consent to be contacted on two separate occasions.
19
     20. On or about October 22, 2018, at 12:19 p.m., Plaintiff answered another
20

21      collection call from Defendant from telephone number (800) 531-0378;
22
        Plaintiff heard a pause before the collection agent began to speak, indicating
23
        the use of an automated telephone dialing system;
24

25




                          COMPLAINT AND DEMAND FOR JURY TRIAL
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     21. Defendant informed Plaintiff that it was attempting to collect a debt relating
1

2       to her USAA account.
3
     22. Plaintiff unequivocally revoked consent to be called any further and
4
        requested to only be contacted in writing.        Despite Plaintiff’s request,
5

6
        Defendant continued to call Plaintiff.

7    23. On or about November 30, 2018, at 1:35 a.m., Plaintiff answered a collection

8
        call from Defendant from telephone number (800) 531-0378; Plaintiff heard
9
        a pause before the collection agent began to speak, indicating the use of an
10

11      automated telephone dialing system;

12   24. Defendant informed Plaintiff that it was attempting to collect a debt relating
13
        to her USAA account.
14
     25. Plaintiff unequivocally revoked consent to be called any further for a fourth
15

16      time and requested for a second time to be contacted only in writing. Despite
17      Plaintiff’s repeated requests not to be contacted, Defendant continued to call
18
        Plaintiff.
19
     26. Between July 2, 2018 and November 30, 2018, Defendant called Plaintiff no
20

21      less than two-hundred and seventy-two (272) times despite Plaintiffs requests
22
        not to be contacted.
23
     27. Defendant consistently called Plaintiff around the same time every day,
24

25
        indicating the use of a predictive dialer.



                        COMPLAINT AND DEMAND FOR JURY TRIAL
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     28. For example, Defendant called Plaintiff at 10:04 a.m. (July 2, 2018), 10:12
1

2       a.m. (July 11, 2018), 10:03 a.m. (July 11, 2018), 10:07 a.m. (July 13, 2018),
3
        and 10:05 a.m. (July 16, 2018).
4
     29. Plaintiff and her husband are both Army veterans. Plaintiff receives medical
5

6
         retirement and disability from the military as both Plaintiff and her husband

7        were injured in Afghanistan.
8
     30. Plaintiff has a standing pain reliever prescription through the Veterans
9
         Affairs and has taken an increased amount due to stress and anxiety of the
10

11       excessive calls from Defendant.

12   31. Plaintiff’s daily life was also affected, disrupting quality time with her
13
         children as well as interruption of their bedtime routine.
14
     32. As a result of Defendant’s conduct, Plaintiff has sustained actual damages
15

16       including but not limited to, emotional and mental pain and anguish.
17                                      COUNT I
                    Defendant’s Violations of the TCPA, 47 U.S.C. § 227
18

19   33. Plaintiff incorporates by reference all of the above paragraphs of this

20
         Complaint as though fully stated herein.
21
     34. Defendant violated the TCPA. Defendant’s violations include, but are not
22

23       limited to the following:

24          (a) Within four years prior to the filing of this action, on multiple
25
               occasions, Defendants violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii)


                        COMPLAINT AND DEMAND FOR JURY TRIAL
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               which states in pertinent part, “It shall be unlawful for any person
1

2              within the United States . . . to make any call (other than a call made
3
               for emergency purposes or made with the prior express consent of the
4
               called party) using any automatic telephone dialing system or an
5

6
               artificial or prerecorded voice — to any telephone number assigned to

7              a . . . cellular telephone service . . . or any service for which the called
8
               party is charged for the call.
9
           (b) Within four years prior to the filing of this action, on multiple
10

11             occasions, Defendants willfully and/or knowingly contacted Plaintiff at

12             Plaintiff’s cellular telephone using an artificial prerecorded voice or an
13
               automatic telephone dialing system and as such, Defendant knowing
14
               and/or willfully violated the TCPA.
15

16   35. As a result of Defendants’ violations of 47 U.S.C. § 227, Plaintiff is entitled

17       to an award of five hundred dollars ($500.00) in statutory damages, for each
18
         and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds
19

20
         that Defendant knowingly and/or willfully violated the TCPA, Plaintiff is

21       entitled to an award of one thousand five hundred dollars ($1,500.00), for
22
         each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47
23
         U.S.C. § 227(b)(3)(C).
24

25
                                   COUNT II
                           Defendant’s Invasion of Privacy


                        COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  (Intrusion upon Seclusion)
1

2       36. Plaintiff incorporates herein by reference all of the above paragraphs of this

3
           complaint as though fully set forth herein at length.
4
        37. Defendant violated Plaintiff’s privacy. Defendant’s violations include, but
5

6
           are not limited to, the following:

7             (a) Defendant intentionally intruded, physically or otherwise, upon
8
                  Plaintiff’s solitude and seclusion by engaging in harassing phone calls
9
                  in an attempt to collect on an alleged debt despite numerous requests
10

11                for the calls to cease.

12            (b) Defendants conduct would be highly offensive to a reasonable person
13
                  as Plaintiff received calls that interrupted Plaintiff’s work and sleep
14
                  schedule.
15

16            (c) Defendant’s acts, as described above, were done intentionally with the
17                purpose of coercing Plaintiff to pay the alleged debt.
18
        38. As a result of Defendant’s violations of Plaintiff’s privacy, Defendant is
19

20
           liable to Plaintiff for actual damages. If the Court finds that the conduct is

21         found to be egregious, Plaintiff may recover punitive damages.
22
                                   PRAYER FOR RELIEF
23
           WHEREFORE, Plaintiff, Danielle Savoye, respectfully requests judgment
24

25
     be entered against Defendant, USAA Federal Savings Bank, for the following:



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             A. Declaratory judgment that Defendants violated the TCPA;
1

2            B. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B), 47 U.S.C. §
3
                227(b)(3)(C);
4
             C. Actual and punitive damages resulting from the invasion of privacy;
5

6
             D. Awarding Plaintiff any pre-judgment and post-judgment interest as

7               may be allowed under the law; and
8
             E. Any other relief that this Honorable Court deems appropriate.
9
                              DEMAND FOR JURY TRIAL
10

11        Please take notice that Plaintiff demands a trial by jury in this action.

12
                                                   RESPECTFULLY SUBMITTED,
13

14

15   Date: March 8, 2019                           By:   /s/Joshua S. Snable
                                                         Joshua C. Snable, Esq.
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21
                                                         Danielle Savoye

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23

24

25




                           COMPLAINT AND DEMAND FOR JURY TRIAL
                                             -9-
